        Case 3:16-cv-02644-WQH-MSB Document 47 Filed 03/15/18 PageID.828 Page 1 of 6



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           5
                  Attorneys for Defendants Peter L. Huntting &
           6      Co., Inc. and Estate of Peter L. Huntting
           7

           8                                 UNITED STATES DISTRICT COURT
           9                              SOUTHERN DISTRICT OF CALIFORNIA
          10      CHEAP EASY ONLINE TRAFFIC                            CASE NO. 3:16-cv-02644-WQH-RNB
                  SCHOOL; BORNA MOZAFARI
          11      AND MARLA KELLER AS                                  DEFENDANTS PETER L. HUNTTING
                  TRUSTEES FOR CHEAP EASY                              & CO., INC. AND ESTATE OF
          12      ON-LINE TRAFFIC SCHOOL                               PETER L. HUNTTING’S NOTICE OF
                  PENSION PLAN; BORNA                                  MOTION AND MOTION FOR
          13      MOZAFARI AS TRUSTEE FOR                              SUMMARY JUDGMENT AS TO
                  THE CHEAP EASY ON-LINE                               PLAINTIFFS' FIRST CAUSE OF
          14      PROFIT SHARING PLAN; EASY                            ACTION [BREACH OF FIDUCIARY
                  ON LINE TRAFFIC SCHOOL.COM,                          DUTIES ERISA § 404(A)(1), 29 U.S.C.
          15      INC.; MARLA KELLER AS                                § 1104(A)(1)] AND TO DISMISS
                  TRUSTEE FOR THE MARLA                                PENDENT CAUSES OF ACTION
          16      KELLER PENSION PLAN AND                              TWO THROUGH SIX OR IN THE
                  MARLA KELLER 401(k) PLAN,                            ALTERNATIVE TO DISMISS
          17                                                           CAUSES OF ACTION TWO
                                  Plaintiffs,                          THROUGH SIX AS PREEMPTED
          18
                          v.                                           Judge: Hon. William Q. Hayes
          19                                                           Magistrate Judge: Hon. Robert N. Block
                  PETER L. HUNTTING & CO., INC.;
          20      SMI PETER L. HUNTTING & CO.,                         Date: April 16, 2018
                  INC.; SMI PENSIONS; SHEFFLER                         Time:
          21      CONSULTING ACTUARIES INC.;                           Dept: Courtroom 14B (Annex)
                  ESTATE OF PETER L. HUNTTING;
          22      MIKE EDWARDS; WILLIAM                                NO ORAL ARGUMENT UNLESS
                  SHEFFLER; ECONOMIC GROUP                             REQUESTED BY THE COURT
          23      PENSION SERVICES GROUP,
                  INC.; and DOES 1 to 100, inclusive,                  Complaint Filed: October 24, 2016
          24                                                           Trial Date:      None set
                                  Defendants.
          25

          26              TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
          27              NOTICE IS HEREBY GIVEN pursuant to the Federal Rules of Civil
         28       Procedure, Rule 56, on April 16, 2018, or as soon thereafter as the matter can be
{00346317.DOCX}                                                       1
                  Defendants’ Notice & Motion for Summary Judgment as to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
        Case 3:16-cv-02644-WQH-MSB Document 47 Filed 03/15/18 PageID.829 Page 2 of 6



           1      heard by the above-entitled Court, located at 333 W. Broadway, San Diego,
           2      California, 92101, in Courtroom 14B, before the Honorable William Q. Hayes
           3      presiding, Defendants Peter L. Huntting & Co., Inc. and Estate of Peter L.
           4      Huntting (the “Huntting Defendants”) will move the Court for Summary
           5      Judgment of the First Cause of Action of Plaintiffs' First Amended Complaint
           6      (alleging a claim for "breach of fiduciary duty" under ERISA § 404(a)(1); 29
           7      U.S.C. § 1104(a)(1)), on the grounds there is no genuine issue as to any material
           8      fact and the Huntting Defendants are entitled to judgment on that First Cause of
           9      Action as a matter of law.
          10              The basis for the motion is that the Huntting Defendants were not
          11      fiduciaries within the meaning of the statutes relied upon by Plaintiffs in the
          12      operative First Amended Complaint.
          13              The Huntting Defendants will also move the Court to dismiss pendent
          14      Causes of Action Two through Six of the operative First Amended Complaint on
          15      the grounds the Court should decline to exercise jurisdiction over state law
          16      claims after it dismisses all claims over which the Court had original jurisdiction.
          17              Alternatively, if the Court is not inclined to dismiss the First Cause of
          18      Action of Plaintiffs' First Amended Complaint, the Huntting Defendants join the
          19      other Defendants in moving the Court to dismiss Causes of Action Two through
          20      Six of the operative First Amended Complaint as preempted on the grounds that
          21      ERISA's preemption clause bars Causes of Action Two through Six.
          22              This motion will be based upon this Notice, the accompanying
          23      Memorandum of Points and Authorities, the Separate Statement of Undisputed
          24      Material Facts filed along with the motion, the accompanying Request for
          25      /././
          26      /././
          27      /././
         28       /././
{00346317.DOCX}                                                       2
                  Defendants’ Notice & Motion for Summary Judgment as to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
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           1      Judicial Notice, all pleadings and papers on file in this case, and upon such other
           2      and further matters as the Court may inquire and as may be presented at the time
           3      of any hearing on the motion.
           4      DATED: March 15, 2018                         BUTTERFIELD SCHECHTER LLP
           5

           6                                                    By: /s/Marc S, Schechter
                                                                    MARC S. SCHECHTER
           7                                                        COREY F. SCHECHTER
                                                                    Attorneys for Defendants
           8                                                        Peter L. Huntting & Co., Inc. and
                                                                    Estate of Peter L. Huntting
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                  Defendants’ Notice & Motion for Summary Judgment as to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
         Case 3:16-cv-02644-WQH-MSB Document 47 Filed 03/15/18 PageID.831 Page 4 of 6



            1                                          PROOF OF SERVICE
            2             I declare that:
            3           I am and was at the time of service of the papers herein, over the age of
                  eighteen (18) years and am not a party to the action. I am employed in the
            4     County of San Diego, California, and my business address is 10021 Willow
                  Creek Road, Suite 200, San Diego, California 92131-1603.
            5
                          On March 15, 2018, I caused to be served the following documents:
            6
                                  DEFENDANTS PETER L. HUNTTING & CO., INC. AND
            7                     ESTATE OF PETER L. HUNTTING’S NOTICE OF
                                  MOTION AND MOTION FOR SUMMARY JUDGMENT AS
            8                     TO PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH OF
                                  FIDUCIARY DUTIES ERISA § 404(A)(1), 29 U.S.C. §
            9                     1104(A)(1)] AND TO DISMISS PENDENT CAUSES OF
                                  ACTION TWO THROUGH SIX OR IN THE ALTERNATIVE
           10                     TO DISMISS CAUSES OF ACTION TWO THROUGH SIX AS
                                  PREEMPTED
           11
                                  DEFENDANTS PETER L. HUNTTING & CO., INC.’S AND
           12                     ESTATE OF PETER L. HUNTTING’S MEMORANDUM OF
                                  POINTS AND AUTHORITIES IN SUPPORT OF MOTION
           13                     FOR SUMMARY JUDGMENT AS TO PLAINTIFFS’ FIRST
                                  CAUSE OF ACTION [BREACH OF FIDUCIARY DUTIES
           14                     ERISA § 404(A)(1), 29 U.S.C. § 1104(A)(1)] AND TO DISMISS
                                  PENDENT CAUSES OF ACTION TWO THROUGH SIX OR
           15                     IN THE ALTERNATIVE TO DISMISS CAUSES OF ACTION
                                  TWO THROUGH SIX AS PREEMPTED
           16

           17                     DEFENDANTS PETER L. HUNTTING & CO., INC. AND
                                  ESTATE OF PETER L. HUNTTING’S SEPARATE
           18                     STATEMENT OF UNDISPUTED MATERIAL FACTS IN
                                  SUPPORT OF MOTION FOR SUMMARY JUDGMENT AS
           19                     TO PLAINTIFFS' FIRST CAUSE OF ACTION [BREACH OF
                                  FIDUCIARY DUTIES ERISA § 404(A)(1), 29 U.S.C. §
           20                     1104(A)(1)] AND TO DISMISS PENDENT CAUSES OF
                                  ACTION TWO THROUGH SIX OR IN THE ALTERNATIVE
           21                     TO DISMISS CAUSES OF ACTION TWO THROUGH SIX AS
                                  PREEMPTED
           22

           23                     REQUEST FOR JUDICIAL NOTICE RE DEFENDANTS
                                  PETER L. HUNTTING & CO., INC. AND ESTATE OF
           24                     PETER L. HUNTTING’S MOTION FOR SUMMARY
                                  JUDGMENT AS TO PLAINTIFFS' FIRST CAUSE OF
           25                     ACTION [BREACH OF FIDUCIARY DUTIES ERISA §
                                  404(A)(1), 29 U.S.C. § 1104(A)(1)] AND TO DISMISS
           26                     PENDENT CAUSES OF ACTION TWO THROUGH SIX OR
                                  IN THE ALTERNATIVE TO DISMISS CAUSES OF ACTION
           27                     TWO THROUGH SIX AS PREEMPTED
          28
{00346317.DOCX}                                                       4
                  Defendants’ Notice & Motion for Summary Judgment As to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
         Case 3:16-cv-02644-WQH-MSB Document 47 Filed 03/15/18 PageID.832 Page 5 of 6



            1            BY FIRST-CLASS MAIL: I caused such envelopes to be deposited in
                          the United States mail, at San Diego, California, with postage thereon
            2             fully prepaid, individually, addressed to the parties as indicated. I am
                          readily familiar with the firm’s practice of collection and processing
            3             correspondence in mailing. It is deposited with the United States postal
                          service each day and that practice was followed in the ordinary course of
            4             business for the service herein attested to. (Fed. R. Civ. P. 5(b)(2)(C).)
            5            BY FACSIMILE TRANSMISSION: I caused a true copy of the
                          foregoing document(s) to be transmitted (by facsimile #) to each of the
            6             parties mentioned above at the facsimile machine and as last given by that
                          person on any document which he or she has filed in this action and
            7             served upon this office.
            8            BY ELECTRONIC FILING SERVICE: Complying with Fed. R.Civ.
                          P. 5(b)(2)(E), my electronic business address is mschechter@bsllp.com
            9             and I caused such document(s) to be electronically served for the above-
                          entitled case to those parties on the Service List below. The file
           10             transmission was reported complete and a copy will be maintained with
                          the original document(s) in our office.
           11
                         BY PERSONAL SERVICE: I served the person(s) listed below by
           12             leaving the documents, in an envelope or package clearly labeled to
                          identify the person being served, to be personally served via on the
           13             parties listed on the service list below at their designated business
                          address.
           14
                                By personally delivering the copies;
           15
                                By leaving the copies at the attorney’s office;
           16
                                   With a receptionist, or with a person having charge thereof; or
           17
                                   In a conspicuous place in the office between the hours of
           18                       ______ in the morning and five in the afternoon;
           19                   By leaving the copies at the individual’s residence, a conspicuous
                                 place, between the hours of eight in the morning, and six in the
           20                    afternoon.
           21     SEE ATTACHED SERVICE LIST
           22           I am readily familiar with the firm's practice of collection and processing
                  correspondence for mailing. Under that practice, it would be deposited with the
           23     United States Postal Service on that same day with postage thereon fully prepaid
                  at San Diego, California, in the ordinary course of business. I am aware that on
           24     motion of the party served, service is presumed invalid if postal cancellation date
                  or postage meter date is more than one day after the date of deposit for mailing in
           25     affidavit.
           26             Executed on March 15, 2018, at San Diego, California.
           27                                                   By: s/Marc S. Schechter
                                                                    MARC S. SCHECHTER
          28
{00346317.DOCX}                                                       5
                  Defendants’ Notice & Motion for Summary Judgment As to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
         Case 3:16-cv-02644-WQH-MSB Document 47 Filed 03/15/18 PageID.833 Page 6 of 6



            1                                              SERVICE LIST
            2                                                    8109.01
            3      Cheap Easy Online Traffic School, et al. v. Peter L. Huntting & Co., Inc. et al.
            4             Lincoln Horton                                  Attorneys for Plaintiffs
                          Horton Village Law Group,
            5             APC
                          Suite 5-24
            6             16236 San Dieguito Road
                          Rancho Santa Fe, CA 92067
            7             Telephone: (858) 832-8685
                          Facsimile: (858) 832-8704
            8             lhorton@hortonvillagelaw.com
            9
                          Thomas M. Monson, Esq.                          Attorneys for Defendants SMI
           10             Miller, Monson, Peshel, Polacek                 Pensions; Sheffler Consulting
                          & Hoshaw                                        Actuaries Inc.; and William
           11             Suite 700                                       Sheffler
                          501 West Broadway
           12             San Diego, CA 92101
                          Telephone: (619) 239-7777
           13             Facsimile: (619) 696-6163
                          tommonson@erisa-law.com
           14

           15             Marc Indeglia, Esq.                             Attorneys for Defendant
                          Indeglia & Carney                               Economic Group Pension
           16             Suite 770                                       Services, Inc.
                          11900 Olympic Boulevard
           17             Los Angeles, CA 90064
                          Telephone: (310) 982-2720
           18             Facsimile: (310) 982-2719
                          marc@indegliacarney.com
           19

           20

           21

           22             Timothy P. Kindelan, Esq.                       Attorneys for Defendant
                          Law Offices of Timothy P.                       Mike Edwards
           23             Kindelan
                          Suite 306
           24             12625 High Bluff Drive
                          San Diego, CA 92130
           25             Telephone: (858) 259-0115
                          Facsimile: (858) 792-7306
           26             tkindelan@prodigy.net
           27
          28
{00346317.DOCX}                                                       6
                  Defendants’ Notice & Motion for Summary Judgment As to Plaintiffs'   Case No. 3:16-cv-02644-WQH-RNB
                  First Cause of Action
